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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                            No. 15-164V
                                     Filed: December 12, 2016
                                         Not for Publication

*************************************
D.J. (a Minor), by her Parents,            *
DEMARCO JOHNSON and                        *
LATEASHA JOHNSON,                          *
                                           *
               Petitioners,                *
                                           *        Attorneys’ fees and costs decision;
 v.                                        *        reasonable attorneys’ fees and costs
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
               Respondent.                 *
                                           *
*************************************
William E. Cochran, Jr., Memphis, TN, for petitioners.
Ryan D. Pyles, Washington, DC, for respondent.


MILLMAN, Special Master

                    DECISION AWARDING ATTORNEYS’ FEES AND COSTS 1

       On February 23, 2015, petitioners filed a petition for compensation under the National
Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012). Petitioners alleged that their
daughter, D.J., developed encephalitis as a result of her receipt of influenza (“flu”) vaccine on
January 7, 2014. On August 22, 2016, the undersigned issued a decision awarding damages
pursuant to the parties’ stipulation.


1
 Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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        On November 23, 2016, petitioners filed a motion for attorneys’ fees and costs.
Petitioners request attorneys’ fees in the amount of $49,561.50, attorneys’ costs in the amount of
$9,690.54, and personal expenses of $3,313.32, for a total request of $62,565.36.

        On December 12, 2016, respondent filed a response to petitioners’ motion explaining that
she is satisfied that this case meets the statutory requirements for an award of attorneys’ fees and
costs under 42 U.S.C. § 300aa-15(e)(1)(A)-(B). Resp. at 2. Respondent “respectfully
recommends that the special master exercise her discretion” to determine a reasonable award of
attorneys’ fees and costs. Id. at 3. On December 12, 2016, petitioners’ counsel informed the
undersigned’s law clerk that he does not anticipate filing a reply to respondent’s response.

        Under the Vaccine Act, a special master or a judge on the U.S. Court of Federal Claims
shall award reasonable attorneys’ fees and costs for any petition that results in an award of
compensation. 42 U.S.C. § 300aa-15(e)(1); Sebelius v. Cloer, 133 S. Ct. 1886, 1893 (2013).
The special master has “wide discretion in determining the reasonableness” of attorneys’ fees
and costs. Perreira v. Sec’y of HHS, 27 Fed. Cl. 29, 34 (1992), aff’d, 33 F.3d 1375 (Fed. Cir.
1994); see also Saxton ex rel. Saxton v. Sec’y of HHS, 3 F.3d 1517, 1519 (Fed. Cir. 1993)
(“Vaccine program special masters are also entitled to use their prior experience in reviewing fee
applications.”).
        Based on her experience and review of the billing records submitted by petitioners, and in
light of petitioners’ counsel’s excellent work and expedited settlement of the case, the
undersigned finds that petitioners’ total request for attorneys’ fees and costs is reasonable.

        Accordingly, the court awards:

    a. $59,252.04, representing attorneys’ fees and costs. The award shall be in the form of a
       check made payable jointly to petitioners and Black McLaren Jones Ryland & Griffee,
       PC in the amount of $59,252.04; and

    b. $3,313.32, representing petitioners’ costs. The award shall be in the form of a check for
       $3,313.32 made payable to petitioners.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.

Dated: December 12, 2016                                                   s/ Laura D. Millman
                                                                            Laura D. Millman
                                                                             Special Master

2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
